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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                  )
    In re:                                                        )   Chapter 11
                                                                  )
    ION GEOPHYSICAL CORPORATION, et al.,1                         )   Case No. 22-30987 (MI)
                                                                  )
                             Debtors.                             )   (Jointly Administered)
                                                                  )
                                                                  )

ORDER (I) APPROVING (A) THE SALE OF CERTAIN OF THE DEBTORS’ MARINE
  DATA AND PROCESSING ASSETS FREE AND CLEAR OF LIENS, CLAIMS,
    INTERESTS, AND ENCUMBRANCES AND (B) THE ASSUMPTION AND
  ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
              LEASES, AND (II) GRANTING RELATED RELIEF

             Upon the Debtors’ Emergency Motion for Entry of an Order Approving (I)(A) Bidding

Procedures and (B) Assumption and Assignment Procedures; (II) Sale of Certain of the Debtors’

Assets Free and Clear of Liens, Claims, Interests, and Encumbrances; and (III) Granting Related

Relief [Docket No. 21] (the “Motion”),2 filed by the above-referenced debtors and debtors in

possession (collectively, the “Debtors”) seeking, among other things, entry of an order (the

“Order”) (i) authorizing the sale of the Debtors’ assets that are Transferred Assets and Transferred

Equity Interests (the “Assets”) subject to the terms of the SAPA free and clear of all Liens, Claims,

and Interests (as defined below), other than Assumed Liabilities and as otherwise provided in the

applicable asset purchase agreement; (ii) authorizing the assumption and/or assignment of certain

contracts identified on Schedule 2.02(a)(1)(iv) of the SAPA, as may be modified or amended (the



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: ION Geophysical Corporation (6646); I/O Marine Systems, Inc. (3230); ION Exploration Products
(U.S.A.), Inc. (1394); and GX Technology Corporation (0115). The location of the Debtors’ service address is 4203
Yoakum Blvd., Suite 100, Houston, Texas 77006.

2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Motion
or the SAPA (as defined herein), as applicable.
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“Assigned Contracts”); and (iii) granting related relief, all as more fully set forth in the Motion;

and upon consideration of the Declaration of Jakub Mleczko in Support of (I) Motion for Entry of

Order Authorizing Debtors to Obtain Senior Secured Superpriority Postpetition Financing and

Use Cash Collateral, and (II) Motion for Entry of Order Approving Bid Procedures [Docket No.

6], Declaration of David Hajovsky in Support of Debtors’ Emergency Motion for Entry of an Order

Approving (I)(A) Bidding Procedures and (B) Assumption and Assignment Procedures; (II) Sale

of Certain of the Debtors’ Assets Free and Clear of Liens, Claims, Interests, and Encumbrances;

and (III) Granting Related Relief [Docket No. 648], the Declaration of Jakub Mleczko In Support

of the Sale Transactions [Docket No. 603], the Declaration of Mike Morrison, Executive Vice

President and Chief Financial Officer of ION Geophysical Corporation, In Support of (I) the

Debtors’ Proposed Sale Transactions and (II) the Shearwater Rejection Motion [Docket No. 652],

and the Declaration of Ken Williamson, Executive Vice President of Innovation & Strategic

Marketing for ION Geophysical Corporation In Support of the Debtors’ Proposed Sale

Transactions [Docket No. 654] (collectively, the “Sale Declarations”); and the Court having

jurisdiction over the matters raised in the Motion pursuant to 28 U.S.C. § 1334; and the Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and that the Court

may enter a final order consistent with Article III of the United States Constitution; and the Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and the Court having found that proper and adequate notice of the

Motion and hearing thereon has been given and that no other or further notice is necessary; and

the Court having entered the Order (I) Approving (A) Bidding Procedures and (B) Assumption and

Assignment Procedures and (II) Granting Related Relief [Docket No. 174] (the “Bidding

Procedures Order”); and the Sellers having determined that the highest or otherwise best offer for




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the Sellers’ marine data and processing assets was made by TGS ASA (“TGS” or the “Buyer,” and

such offer, the “Successful Bid”)3; and upon the Buyer and Sellers having agreed to the terms of

that certain Stock and Asset Purchase Agreement (together with all other agreements, documents,

instruments, deliverable thereunder or attached thereto or referenced therein, and as may be

amended, modified, or supplemented, the “SAPA”)4 with respect to the sale of the Transferred

Assets and Transferred Equity Interests (the “Sale Transaction”); and the Court having conducted

a hearing on August 18, 2022, (the “Sale Hearing”) to consider the relief requested in the Motion

as set forth in this Order; and all parties in interest having been heard or having had the opportunity

to be heard regarding the Motion, the Sale Transaction, the SAPA, and all relief set forth herein;

and all objections, if any, to the Motion having been withdrawn, resolved, or overruled on the

merits; and upon the record of the Sale Hearing and all of the proceedings had before this Court;

and the Court having determined that the legal and factual basis set forth in the Motion establish

just cause for the relief granted herein; and the Court having found that the relief requested in the

Motion is in the best interests of the Debtors and their respective estates; and the Court having

found that proper and adequate notice of the Motion and hearing thereon has been given and that

no other or further notice is necessary, it is HEREBY FOUND AND DETERMINED THAT:

           A.      Findings and Conclusions. The findings and conclusions set forth herein

constitute the Court’s findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052,

made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent any of the

following findings of fact constitute conclusions of law, they are adopted as such. To the extent

any of the following conclusions of law constitute findings of fact, they are adopted as such.


3
    As set forth in the SAPA, the term “Buyer” as used herein shall include one or more of TGS ASA’s Affiliates that
    may acquire the Transferred Assets or Transferred Equity Interests at the closing of the Sale Transaction.
4
    A copy of the SAPA is attached hereto as Exhibit 1.



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       B.      Jurisdiction. The Court has jurisdiction to hear and determine the Motion and to

grant the relief requested in the Motion pursuant to 28 U.S.C. § 1334. Without limiting the

generality of the foregoing, this Court has exclusive in rem jurisdiction over the Assets pursuant

to 28 U.S.C. § 1334(e), as such interests are property of the Debtors’ chapter 11 estates, and, as a

result of such jurisdiction, this Court has all necessary power and authority to grant the relief

contained herein. This is a core proceeding within the meaning of 28 U.S.C. § 157(b), and as such,

this Court has the authority to enter a Final Order.

       C.      Venue. Venue of these chapter 11 cases and the Motion in this district is proper

under 28 U.S.C. §§ 1408 and 1409.

       D.      Statutory Predicates. The statutory and legal predicates for the relief requested in

the Motion are sections 105, 363, 365, 503, and 507 of the Bankruptcy Code, and Rules 2002,

6004, 6006, 9006, 9007, 9008, 9014, and 9019 of the Bankruptcy Rules, and the Complex Case

Procedures.

       E.      Bidding Procedures. On May 3, 2022, the Court entered the Bidding Procedures

Order approving, among other things, (i) the Bidding Procedures, (ii) authorizing the Debtors to

designate Stalking Horse Bidders and offer such bidders certain bid protections; (iii) scheduling

the Bid Deadline, the Auction (as necessary), the applicable Sale Hearing to consider the sale of

the Assets, (iv) establishing procedures for noticing and determining monetary liabilities related

to the Assigned Contracts that must be satisfied pursuant to section 365 of the Bankruptcy Code

(the “Cure Costs”), (v) approving the form and manner of notice of all procedures, protections,

schedules, and agreements, and (vi) granting related relief.        The Bidding Procedures were

substantively and procedurally fair to all parties and all potential bidders and afforded notice and

a full, fair, and reasonable opportunity for any person to make a higher or otherwise better offer to




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purchase the Assets. The Sellers conducted the sale process without collusion and in accordance

with the Bidding Procedures.

       F.      Notice and Opportunity to Object. As evidenced by the affidavits of service filed

with the Court [Docket Nos. 40, 115, 211, 257, 319, 335, 384, 418, 444, 468, 539, 543, 562, 578],

and as demonstrated by the evidence presented at the Sale Hearing, proper, timely, adequate, and

sufficient notice of the Motion, the contracts to be potentially assumed and/or assigned in

connection with the Sale Transaction, including the Assigned Contracts, the Auction, the Sale

Hearing, the Sale Transaction, and the deadlines related thereto was provided in accordance with

sections 102(1), 363, and 365 of the Bankruptcy Code, and Bankruptcy Rules 2002, 6004, 6006,

and 9014 and in compliance with the Bidding Procedures Order, to each party entitled to such

notice, including, as applicable: (a) the United States Trustee for the Southern District of Texas;

(b) the holders of the 30 largest unsecured claims against the Debtors (on a consolidated basis);

(c) the administrative agent under the Debtors’ prepetition revolving credit facility and counsel

thereto; (d) the indenture trustee for the Debtors’ 8.00% secured second priority notes and counsel

thereto; (e) the indenture trustee for the Debtors’ 9.125% unsecured notes; (f) the United States

Attorney’s Office for the Southern District of Texas; (g) the Internal Revenue Service; (h) the

United States Securities and Exchange Commission; (i) the state attorneys general for states in

which the Debtors conduct business; (j) all entities known or reasonably believed to have asserted

a lien, encumbrance, claim, or other interest in any of the Debtors’ assets; (k) all counterparties to

the Assigned Contracts; (l) all of the Debtors’ creditors; and (m) any party that has requested notice

pursuant to Bankruptcy Rule 2002. The notices described above and in the Motion and the Bidding

Procedures Order were good, sufficient, and appropriate under the circumstances and no other or

further notice of the Motion, the Auction, the Sale Transaction, the Sale Hearing, the potential




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assumption and/or assignment of the Assigned Contracts, or the related Cure Costs is, or shall be,

required.

       G.      Service of the Sale Notice was provided to all parties in interest, including those

with one or more alleged preferential purchase rights contained in an Assigned Contract or other

Purchased Contract (the “Preferential Purchase Rights”), and those with one or more rights based

on any alleged approval or consent right or anti-assignment provision contained in an Assigned

Contract (“Consent Rights”) with a reasonable and adequate opportunity to object.

       H.      The Sale Notice, substantially in the form attached to the Bidding Procedures Order

as Exhibit 2 (the “Sale Notice”), provided all interested parties with timely and proper notice of

the Sale Transaction, Bid Deadline, Auction, and Sale Hearing. A reasonable opportunity to object

and/or to be heard regarding the relief granted by this Order has been afforded to those parties

entitled to notice pursuant to the Bankruptcy Code and the Bankruptcy Rules. Accordingly, no

further notice of the Motion or the Sale Hearing is necessary or required.

       I.      The Debtors served notice substantially in the form attached to the Bidding

Procedures Order as Exhibit 3 (the “Cure Notice”) on all parties required to receive such notice

under the Bidding Procedures Order, and such parties have been afforded a reasonable and fair

opportunity to file an objection to the assumption and/or assignment of any Assigned Contract (an

“Assigned Contract Objection”).

       J.      The notice described in the foregoing paragraphs is good, sufficient, and

appropriate under the circumstances, and no other or further notice of the Motion, the Bidding

Procedures, the assumption and/or assignment of the Assigned Contracts, the Auction, the Sale

Hearing, the Sale Transaction, the Cure Costs, the deadlines to submit Assigned Contract




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Objections, the deadline to submit objections to the Sale Transaction, and all other deadlines

related thereto is or shall be required.

        K.      Assets Property of the Estate. The Assets sought to be sold and assigned by the

Debtors to the Buyer pursuant to the SAPA are property of the Debtors’ estates and title thereto is

vested in the Debtors’ estates.

        L.      Sufficiency of Marketing. As demonstrated by the Motion, the Sale Declarations,

and the evidence set forth at the Sale Hearing, the Debtors and their professionals adequately

marketed the Transferred Assets and Transferred Equity Interests and conducted the marketing

and sale process as set forth in and in accordance with the Motion, the Bidding Procedures Order,

and the Bidding Procedures and conducted a fair and open sale process. The sale process and the

Bidding Procedures were non-collusive, duly noticed, and provided a full, fair, and reasonable

opportunity for any entity to make an offer to purchase the Assets, and the process conducted by

the Debtors pursuant to the Bidding Procedures Order obtained the highest or otherwise best value

for the Assets, and there was no other transaction available or presented that would have yielded a

higher or better result for the Assets. Based upon the record of these proceedings, all creditors and

other parties in interest and all potential bidders have been afforded a reasonable and fair

opportunity to bid for the Assets, seek to exercise any alleged Preferential Purchase Rights, or file

an Assigned Contract Objection and/or an objection to the Sale Transaction. The marketing

process undertaken by the Sellers and their professionals and each of their respective agents and

other representatives with respect to the Transferred Assets and Transferred Equity Interests has

been adequate and appropriate and reasonably calculated to maximize the value for the benefit of

all of the Debtors’ stakeholders in all respects.




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       M.      Highest or Otherwise Best Offer. Pursuant to the SAPA and as further described

below, the Buyer has offered to purchase the Transferred Assets and Transferred Equity Interests

in exchange for (i) $34 million in cash (subject to certain purchase price adjustments as provided

in the SAPA) and (ii) the assumption of all Assumed Liabilities (as defined in the SAPA).

       N.      The Debtors determined, in a valid and sound exercise of their business judgment

and after a robust and extensive marketing process, the transactions contemplated by the SAPA

represented the highest or otherwise best bid. Therefore, the Buyer’s bid was designated the

Successful Bid for the Transferred Assets and Transferred Equity Interests.             The Bidding

Procedures have been complied with in all respects by the Debtors and the Buyer and afforded a

full, fair, and reasonable opportunity for any entity or person to make a higher or otherwise better

offer for the Transferred Assets and Transferred Equity Interests.

       O.      The Debtors have demonstrated that (i) the Successful Bid as reflected in the SAPA

is the highest or otherwise best offer for the Transferred Assets and Transferred Equity Interests,

(ii) the SAPA and the closing thereon presents the best opportunity to realize the maximum value

of the Transferred Assets and Transferred Equity Interests, and (iii) the Debtors’ entry into the

SAPA and consummation of the Sale Transaction is a sound exercise of the Debtors’ business

judgment.

       P.      SAPA. The Sellers and the Buyer entered into the SAPA, attached hereto as

Exhibit 1.

       Q.      Business Justification; Fiduciary Duties. The Debtors have demonstrated that

entry into and consummation of the SAPA constitute the exercise by the Debtors of sound business

judgment, and such acts are in the best interests of the Debtors, their estates, and creditors, and all

parties in interest. The Court finds that the Debtors have articulated good and sufficient business




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reasons justifying the sale of the Assets to the Buyer pursuant to the terms and conditions set forth

in the SAPA.

        R.      The Debtors have demonstrated that it is an exercise of their sound business

judgment to assume and/or assign the Assigned Contracts to the Buyer in connection with the

consummation of the Sale Transaction, and the assumption and/or assignment of the Assigned

Contracts is in the best interests of the Debtors, their estates, their creditors, and other parties in

interest. The Assigned Contracts being assigned to the Buyer are an integral part of the Sale

Transaction and, accordingly, their assumption and/or assignment is reasonable and an

enhancement to the value of the Debtors’ estates.

        S.      The Debtors’ decision to enter into the SAPA and consummate the Sale Transaction

constitutes a proper exercise of the fiduciary duties of the Debtors and their directors and officers.

Because the entry into and consummation of the SAPA constitutes the exercise by the Debtors of

sound business judgment, the Debtors, their respective current and former members, managers,

officers, directors, employees, advisors, professionals or agents, shall have or incur no liability to

the estates or any holder of a Claim against or interest in the Debtors for any act or omission in

connection with, related to, or arising out of the negotiations of the SAPA or the consummation of

the Sale Transaction contemplated thereunder, other than liability of the Debtors arising out of or

relating to any willful misconduct or fraud, in each case as determined by a court of competent

jurisdiction.

        T.      Corporate Authority. The Debtors (i) have full corporate or other organizational

power and authority to execute the SAPA and all other documents contemplated thereby, (ii) have

all of the power and authority necessary to consummate the Sale Transaction, and (iii) have taken

all corporate or other organizational action necessary to authorize and approve the SAPA and any




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actions required to be performed by the Debtors to consummate the Sale Transaction. No further

consents or approvals of the Debtors are required for the Debtors to consummate the Sale

Transaction.

       U.      Arm’s-Length Sale and Buyer’s Good Faith. The SAPA was negotiated and is

undertaken by the Sellers and Buyer at arm’s length, without collusion or fraud, and in good faith

within the meaning of section 363(m) of the Bankruptcy Code. The Buyer (i) recognizes that the

Debtors were free to deal with any other party interested in acquiring the Assets, (ii) complied with

the Bidding Procedures Order in all respects, and (iii) willingly subjected its bid to the competitive

Bidding Procedures. All payments to be made by the Buyer and other agreements or arrangements

entered into by the Buyer in connection with the Sale Transaction have been disclosed, and the

Buyer has not violated section 363(n) of the Bankruptcy Code by any action or inaction. As a

result of the foregoing, the Buyer is a “good faith” Buyer within the meaning of section 363(m) of

the Bankruptcy Code, and as such, is entitled to all of the protections afforded thereby, including

in the event this Order or any portion thereof is reversed or modified on appeal.

       V.      No Fraudulent Transfer. The total consideration provided by the Buyer pursuant

to the SAPA constitutes reasonably equivalent value and fair consideration under the Bankruptcy

Code, the Uniform Voidable Transactions Act, the Uniform Fraudulent Transfer Act, the Uniform

Fraudulent Conveyance Act, and any other applicable law, and may not be avoided under section

363(n) of the Bankruptcy Code or any other applicable law. The SAPA was not entered into, and

the Sale Transaction is not being consummated, for the purpose of hindering, delaying or

defrauding creditors of the Sellers under the Bankruptcy Code or under the laws of the United

States, any state, territory, possession thereof, or the District of Columbia, or any other applicable




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law. Neither the Sellers nor the Buyer has entered into the SAPA or is consummating the Sale

Transaction with any fraudulent or otherwise improper purpose.

       W.      Free and Clear Transfer Required by Buyer. The Buyer would not have entered

into the SAPA and would not consummate the Sale Transaction, thus adversely affecting the

Debtors, their estates, their creditors, their employees, and other parties in interest, if the sale of

the Assets was not free and clear of the Liens, Claims, and Interests (other than Assumed Liabilities

and as otherwise provided in the SAPA) or if the Buyer would be liable for such Liens, Claims,

and Interests, including, without limitation and as applicable, liabilities that are not expressly

assumed by the Buyer as set forth in the SAPA or pursuant to this Order.

       X.      The transfer of the Assets is a legal, valid, and effective transfer of all of the legal,

equitable, and beneficial right, title, and interest in and to the Assets free and clear of the Liens,

Claims, and Interests, except for Assumed Liabilities and as otherwise provided in the SAPA.

       Y.      Satisfaction of Section 363(f) Standards. The Debtors are authorized to sell the

Assets free and clear of the Liens, Claims, and Interests, other than Assumed Liabilities and as

otherwise provided in the SAPA (with the Liens, Claims, and Interests attaching to the proceeds

with the same nature, validity, priority, extent, perfection, and force and effect that the Liens,

Claims, and Interests encumbered the Assets immediately prior to the entry of this Order) because,

with respect to each creditor or other person or entity asserting a Lien, Claim, or Interest, one or

more of the standards set forth in section 363(f)(l)-(5) of the Bankruptcy Code has been satisfied.

Each creditor or other person or entity asserting a Lien, Claim, or Interest in the Assets (i) has,

subject to the terms and conditions of this Order, consented to the Sale Transaction or is deemed

to have consented to the Sale Transaction, (ii) could be compelled in a legal or equitable

proceeding to accept money satisfaction of such Lien, Claim, or Interest, or (iii) otherwise falls




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within the provisions of section 363(f) of the Bankruptcy Code. Those holders of the Liens,

Claims, and Interests who did not object (or who ultimately withdrew their objections, if any) to

the Sale Transaction or the Motion are deemed to have consented to the Motion and Sale

Transaction pursuant to section 363(f)(2) of the Bankruptcy Code. Creditors or other persons or

entities asserting a Lien, Claim, or Interest in or against the Assets could be compelled in a legal

or equitable proceeding to accept money satisfaction of such Lien, Claim, or Interest.

       Z.      No Successor Liability. Neither the Buyer nor any of its affiliates are successors

to the Sellers or their estates by reason of any theory of law or equity, and neither the Buyer nor

any of its affiliates shall assume or in any way be responsible for any liability or obligation of any

of the Sellers and/or their estates except to the extent explicitly provided in the SAPA.

       AA.     Assigned Contracts. Each and every provision of the Assigned Contracts or

applicable non-bankruptcy law that purports to prohibit, restrict, or condition, or could be

construed as prohibiting, restricting, or conditioning assignment of any Assigned Contract has

been or will be satisfied or is otherwise unenforceable under section 365 of the Bankruptcy Code.

All counterparties of the Assigned Contracts that did not or do not timely file an objection to the

assumption and/or assignment of the Assigned Contract(s) to which they are a counterparty are

deemed to consent to the assumption and/or assignment by the Debtors of their Assigned Contract

to the Buyer, and the Buyer shall enjoy all of the rights and benefits under each such Assigned

Contract as of the applicable date of assumption and/or assignment without the necessity of

obtaining such non-debtor party’s consent to the assumption or assignment thereof. Upon the

assignment and sale to the Buyer in accordance with the terms of the SAPA, the Assigned

Contracts shall be deemed valid and binding, in full force and effect in accordance with their terms,

subject to the provisions of this Order, and shall be assigned and transferred to the Buyer,




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notwithstanding any provision in the Assigned Contracts prohibiting or otherwise restricting

assignment or transfer, and the Debtors, their estates, or any of their affiliates, predecessors,

successors, or assigns, shall have no further liability or obligation under the Assigned Contracts.

To the extent any Assigned Contract is not an executory contract within the meaning of section

365 of the Bankruptcy Code, it shall be transferred to the Buyer in accordance with the terms of

the SAPA. Other than with respect to Assumed Liabilities, the Buyer shall have no liability or

obligation for any (i) defaults or breaches under any Assigned Contract that relate to acts or

omissions that occurred in the period, or otherwise arose, prior to the Closing Date and (ii) claims,

counterclaims, offsets, or defenses (whether contractual or otherwise, including, any right of

recoupment) with respect to any Assigned Contract, that relate to any acts or omissions that arose

or occurred prior to the Closing Date.

       BB.     Cure Costs and Adequate Assurance. Pursuant to the SAPA, the Cure Costs will

be paid by the Buyer in accordance with the terms of the SAPA. The Buyer has demonstrated

adequate assurance of future performance of each Assigned Contract within the meaning of section

365 of the Bankruptcy Code that is assumed by the Buyer or any of its permitted assignees to

which such Assigned Contract is assumed and/or assigned by the Debtors, including a promise to

perform the Debtors’ obligations under such Assigned Contract for periods at or after the Closing

Date. The Cure Costs are deemed the amounts necessary to “cure” (within the meaning of section

365(b)(l) of the Bankruptcy Code) all “defaults” (within the meaning of section 365(b) of the

Bankruptcy Code) under such Assigned Contracts that are assumed. The Buyer’s payment of Cure

Costs in accordance with the terms of the SAPA and promise under the SAPA to perform the

obligations under the Assigned Contracts as of the Closing Date, after the Closing Date, shall

constitute adequate assurance of future performance under such Assigned Contracts.              Any




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objections to the Cure Costs, to the extent not otherwise resolved, are hereby overruled. To the

extent that any counterparty failed to timely object to its Cure Cost or to raise any other alleged

default or breach of contract, such counterparty is deemed to have consented to such Cure Cost

and to the assignment of its respective Assigned Contract(s) to the Buyer and to have waived any

other defaults or breaches. The Court finds that with respect to all Assigned Contracts, the payment

of the Cure Costs as provided in the SAPA is reasonable and appropriate and is deemed to fully

satisfy the Debtors’ obligations under sections 365(b) and 365(f) of the Bankruptcy Code.

Accordingly, all of the requirements of sections 365(b) and 365(f) of the Bankruptcy Code have

been satisfied for the assumption by the Debtors, and the assignment by the Debtors to the Buyer,

of each Assigned Contract to be assumed and/or assigned to the Buyer as of Closing.

       CC.     Assets Assignable. Each and every provision of the documents governing the

Assets or applicable non-bankruptcy law that purports to prohibit, restrict, or condition, or could

be construed as prohibiting, restricting, or conditioning assignment of any of the Assets, if any,

have been or will be satisfied or are otherwise unenforceable under sections 363 or 365 of the

Bankruptcy Code, as applicable.

       DD.     BGP.     ION Geophysical Corporation and its subsidiary GX Technology

Corporation (collectively, “ION”)) and BGP Inc., China National Petroleum Corporation (“BGP

Inc.”) and BGP Offshore (“BGPO” and together with BGP Inc., collectively, “BGP”) are parties

to a number of agreements, including a Master Cooperation Agreement executed between BGP

Inc. and ION on August 7, 2014 (the “Master Cooperation Agreement”). On February 1, 2021,

GXT, BGP Inc., and BGPO executed a Novation Deed substituting BGPO for BGP Inc.

       EE.     BGP has filed objections to the Motion [Docket Nos. 382 and 482], asserting that

(i) BGP owns an undivided joint ownership interest in certain data and revenues under the Master




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Cooperation Agreement that the Debtors sought to sell and assign to TGS and (b) the Master

Cooperation Agreement prohibits assignment of the agreement without consent of the relevant

counterparty.

       FF.      Cobra Acquisition Services, S.A. Cobra Acquisition Services, S.A. (“Cobra”)

filed an objection to the proposed sale of certain assets under the SAPA [Docket No. 374] (the

“Cobra Objection”). Cobra and the Buyer have resolved the Cobra Objection as set forth in that

certain Term Sheet dated August 16, 2022. As such, Cobra has withdrawn the Cobra Objection.

       GG.      Time of the Essence.       Time is of the essence in consummating the Sale

Transaction. In order to maximize the value of the Debtors’ assets, it is essential that the sale and

assignment of the Debtors’ assets occur within the time constraints set forth in the SAPA. Good

and sufficient reasons for approval of the SAPA have been articulated by the Debtors. The Debtors

and the Buyer, being a good faith Buyer under section 363(m) of the Bankruptcy Code, may close

the transactions contemplated by the SAPA at any time after entry of this Order subject to the

terms and conditions of the SAPA.

       HH.      No Sub Rosa Plan. The SAPA and the Sale Transaction do not constitute a sub

rosa chapter 11 plan. The SAPA neither impermissibly restructures the rights of the Debtors’

creditors nor impermissibly dictates a chapter 11 plan for the Debtors.

       II.      Final Order; Immediate Effect. This Order constitutes a final order within the

meaning of 28 U.S.C. § 158(a). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to

any extent necessary under Bankruptcy Rule 9014 and Rule 54(b) of the Federal Rules of Civil

Procedure, as made applicable by Bankruptcy Rule 7054, the Court expressly finds that there is no

just reason for delay in the implementation of this Order, and, sufficient cause having been shown,

waives any such stay, and expressly directs entry of judgment as set forth herein.




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       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

       1.       Objections Overruled. All objections, if any, with regard to the relief sought in

the Motion or the sale of the Assets on the terms set forth in the SAPA that have not been

withdrawn, waived, settled, or otherwise dealt with herein are hereby overruled on the merits, with

prejudice. All objections to the entry of this Order or to the relief granted herein that were not

timely filed are hereby forever barred.

       2.       Approval of Sale Transaction. Pursuant to sections 105, 363, and 365 of the

Bankruptcy Code, the Motion is granted and the relief requested therein with respect to the Sale

Transaction is granted and approved in its entirety, and the SAPA is hereby approved. The Debtors

have satisfied all requirements of sections 363(b) and 363(f) of the Bankruptcy Code, and all other

requirements and standards applicable to a sale outside the ordinary course of business, free and

clear of the Liens, Claims, and Interests (other than Assumed Liabilities and as otherwise provided

in the SAPA).

       3.       Pursuant to sections 105(a), 363(b), 363(f), and 365 of the Bankruptcy Code, the

Debtors are authorized to take any and all reasonable actions necessary to consummate the Sale

Transaction, including the sale, transfer, and assignment of all of the Debtors’ right, title, and

interest in, to, and under the Assets to the Buyer free and clear of the Liens, Claims, and Interests

(other than Assumed Liabilities and as otherwise provided in the SAPA) in accordance with the

terms of the SAPA and the terms of this Order. The relevant Debtors, as well as their directors,

officers, employees, and agents, are authorized to execute, deliver, and perform their obligations

under and comply with the terms of the SAPA and to consummate the Sale Transaction, including

by taking any and all actions as may be reasonably necessary or desirable to implement the Sale

Transaction and each of the transactions contemplated thereby pursuant to and in accordance with




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the terms and conditions of the SAPA and this Order. For the avoidance of doubt, all persons and

entities are prohibited and enjoined from taking any action to adversely affect or interfere with the

ability of the Debtors to transfer the Assets to Buyer in accordance with the SAPA and this Order.

       4.      The relevant Debtors, their affiliates, and their respective directors, officers,

employees, and agents, are authorized to execute and deliver, and authorized to perform under,

consummate, and implement all additional notices, assumptions, conveyances, releases,

acquittances, instruments and documents that may be reasonably necessary or desirable to

implement the SAPA, including the transfer and, as applicable, the assignment of all the Assets,

the assumption of the Assumed Liabilities, and the assumption and/or assignment of all the

Assigned Contracts, and to take all further actions as may be (i) reasonably requested by Buyer for

the purpose of assigning, transferring, granting, conveying, and conferring to Buyer, or reducing

to Buyer’s possession, the Assets and/or (ii) necessary or appropriate to the performance of the

obligations contemplated by the SAPA, pursuant to which Buyer would provide to the Debtors

certain ordinary course services and services necessary for the Debtors’ ongoing administration of

these chapter 11 cases and Sellers (as defined in the SAPA) may provide certain ordinary course

services, on terms as mutually agreed to between Sellers and Buyer, necessary to the transition of

the Assets to Buyer, all without further order of this Court.

       5.      The Debtors are further authorized, but not directed, to pay, without further order

of the Court, whether before, at or after Closing, any expenses or costs required to be paid to

consummate the Sale Transaction or for the Sellers to perform their obligations in accordance with

the SAPA.

       6.      Sale and Transfer of Assets Free and Clear. Pursuant to sections 105(a), 363(b),

363(f), and 365(b) of the Bankruptcy Code, the Debtors are authorized to transfer, and upon the




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Closing shall transfer to the Buyer all of the Debtors’ right, title, and interest in and to, and

possession of, the Assets, which shall be immediately vested in Buyer, and, to the extent provided

in the SAPA and this Order, such title to the Assets shall be transferred to Buyer free and clear of

the Liens, Claims, and Interests (other than Assumed Liabilities and as otherwise provided in the

SAPA), including without limitation:

               (a)     liens (including, without limitation, mechanics’, materialmens’, and other
                       consensual and non-consensual liens and statutory liens) mortgages,
                       restrictions, hypothecations, charges, indentures, loan agreements,
                       instruments, leases, licenses, options, deeds of trust, security interests,
                       conditional sale or other title retention agreements, pledges, judgments,
                       demands, encumbrances, easements, and servitudes;

               (b)     interests, obligations, liabilities, demands, guaranties, options, restrictions,
                       and contractual or other commitments;

               (c)     rights, including, without limitation, rights of first refusal, rights of offset
                       (except for offsets exercised prior to the Petition Date), contract rights, and
                       recovery;

               (d)     decrees of any court or foreign or domestic government entity (to the fullest
                       extent permitted by law);

               (e)     charges or restrictions of any kind or nature, including, without limitation,
                       any restriction on the use, transfer, marketing, licensing, receipt of income
                       or revenue (including any claim or demand that the Buyer must share
                       income or revenue with a third party) or other exercise of any attributes of
                       ownership of the Assets, including, without limitation, marketing or
                       licensing rights or consent of any Person to market, license, assign or
                       transfer any of the Assets;

               (f)     debts arising in any way in connection with any agreements, acts, or failures
                       to act, of the Debtors or any of the Debtors’ predecessors or affiliates;

               (g)     claims (as that term is defined in the Bankruptcy Code), including claims
                       for reimbursement, contribution claims, indemnity claims, exoneration
                       claims, alter-ego claims, environmental claims (to the fullest extent allowed
                       by applicable law), Environmental Liabilities, employee claims, including
                       claims that may be secured or entitled to priority under the Bankruptcy
                       Code, tax claims, reclamation claims, and pending litigation claims;

               (h)     matters of any kind or nature whatsoever, whether at law or in equity and
                       whether known or unknown, choate or inchoate, filed or unfiled, scheduled



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                        or unscheduled, noticed or unnoticed, recorded or unrecorded, perfected or
                        unperfected, allowed or disallowed, contingent or non-contingent,
                        liquidated or unliquidated, matured or un-matured, material or nonmaterial,
                        disputed or undisputed, whether arising prior to or during the Debtors’
                        bankruptcy cases, and whether imposed by agreement, understanding, law,
                        equity, or otherwise;

               (i)      any other liens, Liens, Debts, debts, Liabilities, liabilities, claims, charges,
                        security interests or encumbrances of any kind whatsoever

in each case, whether in law or in equity, known or unknown, choate or inchoate, filed or unfiled,

scheduled or unscheduled, noticed or unnoticed, recorded or unrecorded, perfected or unperfected,

allowed or disallowed, contingent or non-contingent, liquidated or unliquidated, matured or

unmatured, material or non-material, disputed or undisputed, direct or indirect, and whether arising

by agreement, understanding, law, equity or otherwise, and whether occurring or arising before,

on or after the Petition Date, or occurring or arising prior to the Closing Date (each, a “Lien, Claim,

or Interest,” and collectively, the “Liens, Claims, and Interests”). The Liens, Claims, and Interests

(other than Assumed Liabilities and as otherwise provided in the SAPA) shall attach to the

proceeds with the same nature, validity, priority, extent, perfection, and force and effect that such

Liens, Claims, and Interests encumbered the Assets immediately prior to the entry of this Order,

subject to any Claims, defenses, and objections, if any, that the Debtors or their estates may possess

with respect thereto.

       7.      Binding Effect of Order. This Order and the SAPA shall be binding in all respects

upon the Sellers, the Debtors, their estates, all creditors of, and holders of equity interests in, the

Debtors, any holders of the Liens, Claims, and Interests in, against, or on all or any portion of the

Assets (whether known or unknown), the Buyer and all successors and assigns of the Buyer,

notwithstanding the dismissal of any of the Debtors’ cases or any subsequent appointment of any

trustees, examiners, “responsible persons,” or other fiduciaries in these chapter 11 cases or upon a

conversion to case under chapter 7 of the Bankruptcy Code, and the SAPA shall not be subject to


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rejection or avoidance under any circumstances. If any order under section 1112 of the Bankruptcy

Code is entered, such order shall provide, or be deemed to provide (in accordance with sections

105 and 349 of the Bankruptcy Code) that this Order, including the Assets and all other rights

granted to the Buyer hereunder, shall remain effective and, notwithstanding such dismissal, shall

remain binding on all the Debtors’ creditors, parties to the Assigned Contracts, and all other parties

in interest. The SAPA, this Order, and the Debtors’ obligations therein and herein shall not be

altered, impaired, amended, rejected, discharged, or otherwise affected by any chapter 11 plan

proposed or confirmed in these bankruptcy cases, any order confirming any chapter 11 plan, or

any subsequent order of this Court without consent of the Debtors and the Buyer, which shall not

be unreasonably withheld, to the extent of any conflict between this Order or the SAPA and such

future plan or order, the terms of this Order and the SAPA shall control.

        8.      No Material Modifications. The SAPA and any related agreements, documents,

or other instruments in effect as of the date hereof may be modified, amended, or supplemented

through a written document signed by the parties thereto in accordance with the terms thereof

without further order of this Court; provided, however, that any such modification, amendment, or

supplement does not have a material or an adverse effect on the Debtors or their estates. For the

avoidance of doubt, all other modifications, amendments, or supplements that have a material or

an adverse effect on the Debtors’ estates or their creditors shall require Court approval.

        9.      No Bulk Sales. No bulk sales law or any similar law of any state or other

jurisdiction shall apply in any way to the SAPA, Sale Transaction, the Motion, or this Order.

        10.     Valid Transfer. Effective upon the Closing, the transfer to the Buyer of the

Debtors’ right, title, and interest in the Assets pursuant to the SAPA shall be, and hereby is deemed

to be, a legal, valid and effective transfer of the Debtors’ right, title, and interest in the Assets, and




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vests with or will vest in the Buyer all right, title, and interest of the Debtors in the Assets, free

and clear of the Liens, Claims, and Interests, other than Assumed Liabilities and as otherwise

provided in the SAPA.

        11.    Good Faith Buyer. The Sale Transaction contemplated by the SAPA is undertaken

by the Buyer in good faith, as that term is used in section 363(m) of the Bankruptcy Code, and the

Buyer has acted without collusion in undertaking the Sale Transaction contemplated by the SAPA.

Accordingly, the reversal or modification on appeal of the authorization provided herein to

consummate the Sale Transaction shall not affect the validity of the sale of the Assets to the Buyer

(including the assumption and/or assignment by the Debtors of any of the Assigned Contracts),

unless such authorization is duly stayed pending such appeal. The Buyer is a Buyer in good faith

of the Assets, and is entitled to all of the protections afforded by section 363(m) of the Bankruptcy

Code.

        12.    The SAPA and the transactions contemplated thereby cannot be avoided under

section 363(n) of the Bankruptcy Code. None of the Debtors, the Buyer, or any of their respective

affiliates, officers, directors, members, partners, principals, or shareholders (or equivalent) or any

of their respective current and former members, managers, officers, directors, employees, advisors,

professionals, agents, predecessors, successors or assigns have engaged in any conduct that would

cause or permit the SAPA or the consummation of the transactions contemplated thereby to be

avoided, or costs or damages to be imposed, under section 363(n) of the Bankruptcy Code.

        13.    Governmental Authorization to Effectuate Sale and Assignments. Each and

every federal, state, and governmental agency or department, and any other person or entity, is

hereby authorized to accept any and all documents and instruments in connection with or necessary

to consummate the Sale Transaction. Except as otherwise provided in this Order, to the greatest




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extent available under applicable law upon the Closing, the Buyer shall be authorized, as of the

Closing, to operate under any license, permit, registration, and governmental authorization or

approval of the Debtors with respect to the Assets, and all such licenses, permits, registrations, and

governmental authorizations and approvals are deemed to have been, and hereby are, deemed to

be transferred to the Buyer as of the Closing. No governmental unit may revoke or suspend any

lawful right, license, trademark, or other permission relating to the use of the Assets sold,

transferred, or conveyed to the Buyer on account of the filing or pendency of these chapter 11

cases or the consummation of the Sale Transaction. For the avoidance of doubt, the Sale

Transaction authorized herein shall be of full force and effect, regardless of whether the Debtors

or any of their affiliates lack good standing in any jurisdiction in which such entity is formed or is

authorized to transact business.

       14.     Authorization to Assign. Notwithstanding any provision of any contract

governing the Assets, including any Assigned Contract to be assumed and/or assigned to the Buyer

as of the Closing, pursuant to section 365(f) of the Bankruptcy Code or applicable non-bankruptcy

law that prohibits, restricts, or conditions the assignment of Assets, including any Assigned

Contract, at or after the Closing, the Debtors are authorized in accordance with sections 105(a),

363, and 365 of the Bankruptcy Code to (i) assign the Assets to the Buyer and (ii) assume and/or

assign the Assigned Contracts to the Buyer as of the Closing, in each case, which assignments

shall take place on and be effective as of the Closing or such other date after the Closing Date, in

each case, as provided in the SAPA, the Bidding Procedures Order, or as otherwise provided by a

separate order of this Court.

               (a)     There shall be no accelerations, assignment fees, increases, or any other fees
                       charged to the Buyer or the Debtors as a result of the assignment of the
                       Assets or the assumption and/or assignment of the Assigned Contracts.




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               (b)     The Debtors have met all of the requirements of section 365(b) of the
                       Bankruptcy Code for each of the Assigned Contracts that are to be assumed
                       and/or assigned to the Buyer as of Closing. Notwithstanding the foregoing,
                       unless required by the Buyer under the SAPA for the Debtors to assume
                       and/or assign any Assigned Contract, no Debtor shall be required by the
                       Court to assume and/or assign any Assigned Contract, and, if no such
                       assumption and/or assignment occurs, no Cure Costs shall be due and no
                       adequate assurance of future performance shall be required with respect to
                       any such Assigned Contract.

               (c)     The Debtors’ assumption and/or assignment of the Assigned Contracts is
                       subject to the consummation of the Sale Transaction with the Buyer. To the
                       extent that any objection by a counterparty to any Assigned Contract,
                       including an objection related to the applicable Cure Cost, is not resolved
                       prior to the Closing, the Buyer, may, without any further approval of the
                       Court or notice to any party, elect to (a) not have the Debtors assume and/or
                       assign such Assigned Contract to it, or (b) have the Debtors postpone the
                       assumption of such Assigned Contract until the resolution of such objection;
                       provided, however, that the Debtors, with the consent of the Buyer, and the
                       relevant non-debtor counterparty under each Assigned Contract shall have
                       authority to compromise, settle, or otherwise resolve any objections to
                       proposed Cure Costs without further order of, or notice to, this Court, with
                       any such agreed upon Cure Costs being paid to the appropriate counterparty
                       by the Buyer as a condition subsequent to such assumption and/or
                       assignment of the relevant Assigned Contract. Subject to the terms of the
                       SAPA, the Buyer is entitled to retain the Purchase Price Holdback Amount
                       pending resolution of all objections relating to Cure Costs.

       15.     Assigned Contracts. As of the Closing, subject to the provisions of this Order and

in accordance with the SAPA, the Buyer shall succeed to the entirety of the Debtors’ rights and

obligations in the Assigned Contracts first arising and attributable to the time period occurring on

or after the Closing Date and shall have all rights thereunder.

               (a)     Upon Closing, (a) all defaults (monetary and non-monetary) under the
                       Assigned Contracts shall be deemed cured and satisfied in full through the
                       payment of the Cure Costs, (b) no other amounts will be owed by the
                       Debtors, their estates, or, other than the Assumed Liabilities, the Buyer with
                       respect to amounts first arising or accruing during, or attributable or related
                       to, the period before Closing with respect to the Assigned Contracts, and (c)
                       any and all persons or entities shall be forever barred and estopped from
                       asserting a Claim against the Debtors, their estates, the Buyer, or the Assets
                       that any additional amounts are due or defaults exist under the Assigned
                       Contracts that arose or accrued, or relate to or are attributable to the period
                       before the Closing Date (other than Claims against Buyer with respect to


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                      the Assumed Liabilities). The Buyer’s promise, pursuant to the terms of the
                      SAPA to pay the Cure Costs and the Buyer’s promise to perform the
                      Debtors’ obligations under the Assigned Contracts for the period on or after
                      the Closing Date shall constitute adequate assurance of Buyer’s future
                      performance under the Assigned Contracts being assigned to it as of the
                      Closing within the meaning of sections 365(b)(l)(C) and (f)(2)(A)-(B) of
                      the Bankruptcy Code.

              (b)     Upon assumption of those Assigned Contracts to be assumed by the Debtors
                      and/or assigned to the Buyer as of the Closing, such Assigned Contracts
                      shall be deemed valid and binding, in full force and effect in accordance
                      with their terms, subject to the provisions of this Order, and shall be
                      assigned and transferred to the Buyer, notwithstanding any provision in
                      such Assigned Contract or other restrictions prohibiting assignment or
                      transfer. To the extent any Assigned Contract is assumed and/or assigned
                      to the Buyer under this Order, such assumption and/or assignment will not
                      take effect until the Closing. Furthermore, other than the Assigned
                      Contracts, no other contract shall be deemed assumed by the Debtors and/or
                      assigned to the Buyer pursuant to section 365 of the Bankruptcy Code. The
                      failure of the Debtors or the Buyer to enforce at any time one or more terms
                      or conditions of any Assigned Contract shall not be a waiver of such terms
                      or conditions, or of the Debtors’ and the Buyer’s rights to enforce every
                      term and condition of such Assigned Contract.

              (c)     All counterparties to the Assigned Contracts shall cooperate and
                      expeditiously execute and deliver, upon the reasonable request of the Buyer,
                      and shall not charge the Debtors or the Buyer for, any instruments,
                      applications, consents, or other documents which may be required or
                      requested by any public or quasi-public authority or other party or entity to
                      effectuate the applicable transfers in connection with the Sale Transaction.

       16.    Notwithstanding the foregoing, the Debtors may, at the Buyer’s direction, amend

the list of Assigned Contracts to add or remove any Assigned Contract to or from such list of

Assigned Contracts of the Sale Transaction in accordance with the terms of the SAPA and the

Bidding Procedures Order.

       17.    All Cure Costs that have not been waived shall be determined in accordance with

the Bidding Procedures Order or this Order and paid by Buyer in accordance with the terms of the

SAPA. Assumption and payment of the Cure Costs by Buyer shall be in full satisfaction and cure

of any and all defaults under the Assigned Contracts and is deemed to fully satisfy the Debtors’



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obligations under sections 365(b) and 365(f) of the Bankruptcy Code. Upon the assumption by a

Debtor and the assignment to Buyer of any Assigned Contract, and the payment of any applicable

Cure Costs, each non-Debtor counterparty to such Assigned Contract is forever barred, estopped,

and permanently enjoined from (i) asserting against the Debtors or Buyer, their Affiliates,

successors, or assigns, or the property of any of them, any default existing as of the Closing, and

(ii) exercising any rights or remedies against any Debtor or Buyer based on an asserted default that

occurred on, prior to, or as a result of, the Closing, including the type of default specified in section

365(b)(1)(A) of the Bankruptcy Code.           Buyer has provided adequate assurance of future

performance under the Assigned Contracts within the meaning of sections 365(b)(1)(c) and

365(f)(2)(B) of the Bankruptcy Code. Accordingly, all of the requirements of sections 365(b) and

365(f) of the Bankruptcy Code have been satisfied for the assumption by the Debtors, and the

assignment by the Debtors to Buyer, of each of the Assigned Contracts.

         18.    To the extent a non-Debtor counterparty to an Assigned Contract fails to timely

object to a Cure Cost, such Cure Cost has been and shall be deemed to be finally determined and

any such non-Debtor counterparty shall be prohibited from challenging, objecting to, or denying

the validity and finality of the Cure Cost at any time. Consistent with the Bidding Procedures

Order, the non-Debtor counterparty to an Assigned Contract is forever bound by the applicable

Cure Cost and, upon payment of such Cure Cost as provided herein and in the SAPA, is hereby

enjoined from taking any action against the Buyer with respect to any claim for cure under such

Assigned Contract. To the extent no timely Assigned Contract Objection has been filed and served

with respect to an Assigned Contract, the non-Debtor counterparty to such Assigned Contract is

deemed to have consented to the assumption and/or assignment of such Assigned Contract to

Buyer.




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       19.     Without limiting the foregoing, each person or entity who holds or is the beneficiary

of a Preferential Purchase Right or Consent Right will be (i) forever barred from objecting to the

transfer, sale, assumption, and/or assignment of the Debtors’ right, title, and interest in, to and

under the assets to be sold, assumed, and/or assigned in connection with the Sale Transaction, free

and clear of the Liens, Claims, and Interests, including Consent Rights and Preferential Purchase

Rights (other than Assumed Liabilities and as otherwise provided in the SAPA), and from asserting

any alleged Preferential Purchase Rights with respect to the Sale Transaction, and (ii) deemed to

consent to and approve the transfer, sale, and/or assumption and/or assignment of the Debtors’

right, title, and interest in, to and under such Assets free and clear of the Liens, Claims, and

Interests, including Consent Rights and Preferential Purchase Rights (other than Assumed

Liabilities and as otherwise provided in the SAPA).

       20.     Assigned Contract Objections. If a counterparty to any Assigned Contract files

an Assigned Contract Objection to the assumption and/or assignment of such Assigned Contract

to Buyer, then such contract shall be deemed a “Disputed Contract.” The Debtors, with the consent

of the Buyer, shall be authorized to resolve or settle any objections to the assumption and/or

assignment of Disputed Contracts in accordance with the terms of the SAPA and this Order,

including with respect to Cure Costs or necessary consents, without need for any further order or

action from this Court.

       21.     No Successor Liability. The Buyer has given substantial consideration under the

SAPA, which consideration shall constitute valid, valuable, and sufficient consideration for the

absolution from any potential claims of successor liability of the Buyer to the greatest extent

allowed by applicable law.




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       22.     Surrender of Possession. Any and all Assets in the possession or control of any

person or entity, including any vendor, supplier, or employee of the Debtors shall be transferred

to the Buyer free and clear of the Liens, Claims, and Interests (other than Assumed Liabilities and

as otherwise provided in the SAPA), with such Liens, Claims, and Interests attaching to the

proceeds with the same nature, validity, priority, extent, perfection, and force and effect that such

Liens, Claims, and Interests encumbered the Assets immediately prior to the entry of this Order,

and shall be delivered to the Buyer and deemed delivered at the time of Closing (or such other

time as provided in the SAPA), with such costs of delivery allocated in accordance with the SAPA.

       23.     Texas Tax Authorities. Notwithstanding anything to the contrary in this Order,

the asset purchase agreements, or any other applicable documents in these chapter 11 cases, any

valid, perfected, enforceable, senior, and nonavoidable statutory liens (the “Tax Liens”) of

Cypress-Fairbanks Independent School District, Harris County, Alief Independent School District,

and the City of Houston (collectively, the “Texas Tax Authorities”) shall attach to the proceeds of

the sale of any of the Debtors’ assets that are subject to such Tax Liens, if any, to the same extent

and with the same priority as such Tax Liens attached to the Debtors’ assets immediately prior to

the closing of such sale. From the proceeds of the sale of any of the Debtors’ assets subject to the

Tax Liens, the amount of $156,000 shall be set aside by the Debtors in either a segregated account

or as part of the Disputed Claims Reserve established pursuant to the First Amended Joint Chapter

11 Plan of ION Geophysical Corporation and Its Debtor Affiliates (as amended, supplemented, or

otherwise modified from time to time, the “Plan”) as adequate protection for the asserted secured

claims of the Texas Tax Authorities. These funds may be distributed only upon agreement

between the Texas Tax Authorities and the Debtors, by subsequent order of the Court, duly noticed

to the Texas Tax Authorities, or upon resolution and payment of any allowed secured claims of




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the Texas Tax Authorities. To the extent any sale transaction results in a proration of ad valorem

tax liability for the periods in which the Debtors and the purchaser own the assets, the Texas Tax

Authorities shall retain their respective Tax Liens against the assets, until such time as the taxes

are paid in full, including any accrued penalties and interest. Except as expressly provided

herein, the Texas Tax Authorities’ rights with respect to any sale of the assets are fully

preserved. All parties’ rights to object to the priority, validity, amount and extent of the claims

and liens asserted by the Texas Tax Authorities and the Tax Liens are fully preserved.

       24.     Life Insurance Company of North America. Notwithstanding anything to the

contrary in this Order, or any notice related thereto, unless Life Insurance Company of North

America (“LINA”) and the Debtors agree otherwise, the LINA Policies (as defined in the

Objection of Life Insurance Company of North America to Debtors’ Emergency Motion for Entry

of an Order Approving (I) (A) Bidding Procedures and (B) Assumption and Assignment

Procedures; (II) Sale Of Certain of the Debtors’ Assets Free and Clear of Liens, Claims, Interests,

and Encumbrances; and (III) Granting Related Relief [Docket No. 359] (the “LINA Sale

Objection”)) shall not be assumed and assigned to the Buyer. This fully resolves the LINA Sale

Objection and the Objection of Life Insurance Company of North America to Second Supplemental

Notice Of Cure Costs And Potential Assumption And Assignment Of Executory Contracts And

Unexpired Leases In Connection With Sale [Docket No. 497].

       25.     INOVA. For the avoidance of doubt none of the following assets are being sold

and none of the following executory contracts are being assumed and assigned to the Buyer:

               (a)     the conveyance, assignment, or transfer of any rights or interests in, to, or
                       against the Joint Venture Agreement dated March 24, 2010 involving the
                       Debtor(s) and INOVA Geophysical Equipment Ltd. (as identified in
                       Docket Nos. 316, 404, 470, and/or any amendments thereto);

               (b)     any rights or interest in, to, or against any executory contracts to which any
                       of the Debtors is a party and any of the following also is party (collectively


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                      the “INOVA Entities”): INOVA Geophysical, Inc., INOVA Geophysical
                      (UK) Limited, INOVA Exploration Holdings, S.a.r.l. INOVA Systems
                      Corporation, INOVA Ltd., INOVA Geophysical FZE (formerly ARAM
                      Systems Middle East FZE), INOVA (Xfan) Geophysical Equipment
                      Limited, Input/Output Services CIS, LLC; and

               (c)    the conveyance, assignment, or transfer of any interest in the equity interest
                      or similar interest of the Debtors, or any other person or any entity, with
                      respect to any of the INOVA Entities.

       26.     Directorate General of Hydrocarbons. Notwithstanding anything to the contrary

in the Motion, the SAPA, or this Order, or any other order entered on the Sale Motion: (a) the

Debtors will not sell, transfer, or assign to the Buyer or any other purchaser either (i) any data

owned by the Directorate General of Hydrocarbons, a/k/a the Ministry of Petroleum & Natural

Gas, Government of India (“DGH”), including without limitation the Data subject to the 2005

Agreement and the 2008 Agreement (each as defined in the objection of DGH filed at [Docket No.

486]) or (ii) any Surveys relating to the 2005 Agreement and 2008 Agreements (collectively, the

“DGH Data and Surveys”); and (b) the Debtors will not assume and assign or otherwise transfer

or sell to the Buyer or any other purchaser any license agreement relating to the DGH Data and

Surveys, or revenues arising thereunder, including without limitation: (i) the ConocoPhillips New

Ventures Ltd. Agreement dated 12/17/2013 (page 104); (ii) the Energy World Development Ltd

Agreement dated 6/1/2006 (page 106); (iii) the Oil India Agreements dated 8/7/2006 and 6/7/2007

(page 112); or (iv) the license agreements and revenue streams reflected on the sales statements

submitted to GX Technology Corporation in connection with its an affidavit on oath (dated

October 15, 2019) before the Delhi High Court.

       27.     No Effect on Governmental Regulatory Authority. Except with respect to the

assumption and assignment of the Assigned Contracts to the Buyer in accordance with the SAPA

and this Order, nothing in this Order or the SAPA (i) releases, nullifies, precludes or enjoins the

enforcement of any police or regulatory liability to a governmental unit that any entity would be


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subject to as the post-sale owner or operator of property after the date of entry of this Order; (ii)

authorizes the transfer or assignment of any governmental (a) license, (b) permit, (c) registration,

(d) authorization, or (e) approval, or the discontinuation of any obligation thereunder, without

compliance with all applicable legal requirements and approvals under police or regulatory law;

or (iii) divests any tribunal of any jurisdiction it may have under police or regulatory law to

interpret this Order or to adjudicate any defense asserted under this Order. For the avoidance of

doubt, the matters preserved by this paragraph are subject to all rights and defenses available under

applicable law.

       28.     Oracle. No provision of this Order or any agreement between the Debtors and the

Buyer shall authorize (a) the transfer of any Oracle America, Inc. (“Oracle”) license agreement to

any third party; or (b) use of any Oracle license agreement that is inconsistent with the relevant

license grant including, but not limited to, exceeding the number of authorized users, shared use

or license splitting, absent Oracle’s express prior written consent. The Oracle license agreements

shall remain in full force and effect for the exclusive benefit of the Debtors.

       29.     Chevron. Notwithstanding anything to the contrary in this Order, the SAPA, the

Closing, the Plan, or any other order entered in these chapter 11 cases, the Debtors’ agreements

with Chevron U.S.A. Inc. and its Affiliates (as defined in the International Master Agreement No.

IMA/179 (GXT No. 11107-00)), Chevron Nigeria Limited, and Chevron FEA International

Ventures Ltd., and each of their applicable affiliates, subsidiaries and divisions (collectively,

“Chevron”) that are scheduled to be assumed and assigned to Buyer, including (i) International

Master Agreement No. IMA/179 (GXT No. 11107-00); (ii) Data Processing Services Contract No.

CW1662744; (iii) Geophysical Data-Use License No. 1052; (iv) Master Geophysical Data-Use

License No. 10531; (v) Domestic Master Seismic Processing Agreement; (vi) License Order No.




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CW1165359; (vii) Seismic Data Processing Services Contract No. ARTS-2021-CW1857240;

(viii) License Order No. 2022.004400 GXT Supplement No. 11107-36; (ix) License Order GXT

Supplement No. 11107-32, CW 1771319; and (x) any and all associated license orders, work

orders, service orders, call-outs, amendments, supplements or addenda to any of the foregoing,

(collectively the “Chevron Agreements”) are deemed assumed and assigned to the Buyer upon the

occurrence of the Closing. Until the Closing, the Debtors, and on and after the Closing, the Buyer,

shall continue to have and perform the obligations under the Chevron Agreements in accordance

with their terms. Except as provided herein, all rights and claims of the parties under the Chevron

Agreements are expressly preserved and nothing in, about or related to these chapter 11 cases

(including but not limited to this Order, the SAPA, the Closing, the Plan, or any other order entered

in these chapter 11 cases) shall prevent the parties from maintaining, asserting or pursuing any

right, claim or defense against the other party arising under the Chevron Agreements, including

but not limited to audit rights or claims arising from any audit, indemnification rights, and setoff

and recoupment rights, provided, however, that to the extent any claim or defense pertains to a

known purported monetary default by the Debtors that arose under the applicable Chevron

Agreement prior to the date of this Order, such claim or defense is not preserved with respect to

such known monetary default and shall be deemed cured upon Closing. Notwithstanding anything

to the contrary in this Order but subject to the immediately preceding provision, any document or

agreement attached to or referenced in this Order, the SAPA, the Closing, the Plan, or any other

order entered in these chapter 11 cases, nothing releases any entity from any claim, defense or

Cause of Action of Chevron; provided, however, that as of the date of this Order, Chevron

represents to Buyer that it is not aware of any monetary default by the Debtors or of facts giving




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rise to a potential claim by Chevron against the Debtors arising from Debtors’ non-performance

of any Chevron Agreements assigned to the Buyer.

       30.     MGAI. Pursuant to the SAPA, the Buyer is not acquiring the Sellers’ (or any other)

interest in the BlackseaSPAN survey, nothing in this Order or the SAPA entitles Buyer to have,

possess or retain any data or derivatives therefrom or in connection therewith. Neither the Debtors

not the Buyer will contest MGAI’s right to obtain the survey (and all derivatives therefrom and in

connection therewith) from the party holding such data. This resolves the objection of MGAI LLP

filed at Docket No. 491.

       31.     Instituto National de Petroleo of Mozambique. Pursuant to the SAPA, the Buyer

is not acquiring the Sellers’ (or any other) interest in the Mozambique T4 survey or Mozambique

related data from the EastAfricaSpan survey, and nothing in this Order or the SAPA entitles Buyer

to have, possess or retain any rights, data or derivatives therefrom or in connection

therewith. Neither the Debtors nor the Buyer will contest the Instituto National de Petroleo of

Mozambique’s (“INP’s”) right to obtain the survey (and all derivatives therefrom and in

connection therewith) from the party holding such data. This resolves the objections filed by INP

at Docket Nos. 566 and 584.

       32.     WesternGeco, LLC. Pursuant to the SAPA, the Buyer is not acquiring the Sellers’

(or any other) interest in the Mozambique T4 survey, and nothing in this Order or the SAPA entitles

Buyer to have, possess or retain any data or derivatives therefrom or in connection therewith. This

resolves the objection filed by WesternGeco, LLC at Docket Nos. 563.

       33.     BGP. BGP and TGS have reached an agreement that resolves BGP’s objection to

the Motion, the terms of which are reflected in a Term Sheet executed by BGP and TGS, dated as

of August 16, 2022, which may be terminated if certain events do not occur, including entry of




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this Sale Order (the “BGP/TGS Term Sheet”) . However, if a Party gives notice terminating the

BGP/TGS Term Sheet for any reason prior to the closing and consummation of the Sale

Transaction, (i) the obligations and agreements of BGP and TGS under the BGP/TGS Term Sheet

shall be null and void in all respects, and (ii) all rights, claims, objections, and defenses of the

Debtors, BGP, and TGS shall be preserved with respect to all issues that have been or could have

been raised in these chapter 11 cases, including without limitation, the Sale Transaction,

confirmation of the Debtors’ chapter 11 plan, and any administrative claims, claims for revenue or

ownership thereof, or any other claims of any nature whatsoever that have been asserted or could

be asserted against the Debtors by BGP.

       34.     Barbados. Pursuant to the SAPA, the Buyer is not acquiring the Sellers’ (or any

other) interest in the Barbados Reprocessing data, and nothing in this Order or the SAPA entitles

Buyer to have, possess or retain any data or derivatives therefrom or in connection therewith.

Neither the Debtors nor the Buyer will contest the Government of Barbados’s (“Barbados”), right

to obtain the Barbados Reprocessing data (and all derivatives therefrom and in connection

therewith) from the party holding such data. This resolves the objection filed by the Government

of Barbados at Docket No. 488. The Debtors will, within 10 business days of the Effective Date

of the Plan, provide the Barbados, Triton, or such other third party as the Debtors and Barbados

may agree with a copy of the data from the Geological Study Agreement between the Debtors and

Barbados and (ii) documentation demonstrating what, if any, dollar amounts the Debtors records

reflect were collected during the pendency of these chapter 11 cases with respect to the Barbados

Geological Study Agreement. This resolves the objections filed by the Government of Barbados

at Docket Nos. 498 and 593.




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         35.   Retention of Jurisdiction. The Court retains jurisdiction to hear and determine all

matters arising from or related to the implementation, interpretation, or enforcement of this Order,

the Sale Transaction, and the Bidding Procedures Order.

         36.   Immediate Effect. Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), this

Order shall be effective and enforceable on the date that is 72 hours after (a) all deadlines to file

an Assigned Contract Objection to the assumption and assignment of the Assigned Contracts have

lapsed, and (b) all timely filed Assigned Contract Objections, if any, have been resolved (i) in

accordance with the terms of the SAPA and the Bidding Procedures Order, or (ii) pursuant to an

order of this Court. In the absence of any person or entity obtaining a stay pending appeal, the

Debtors and the Buyer are free to close the Sale Transaction under the SAPA at any time pursuant

to the terms thereof.

         37.   Failure to Specify Provisions. The failure to specifically reference any particular

provisions of the SAPA or other related documents in this Order shall not diminish or impair the

effectiveness of such provisions, it being the intent of the Court that the SAPA and other related

documents be authorized and approved in their entirety.

         38.   Satisfaction of Conditions Precedent. Neither the Buyer nor the Debtors shall

have an obligation to close the Sale Transaction until all conditions precedent in the SAPA to each

of their respective obligations to close the Sale Transaction have been satisfied or waived in

accordance with the terms of the SAPA.

         39.   Provisions Non-Severable. The provisions of this Order are non-severable and

mutually dependent.

Dated:                         , 2022
         Houston, Texas
                                              __________________________________________
                                               UNITED STATES BANKRUPTCY JUDGE



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                             Exhibit 1

                              SAPA
